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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )
       vs.                                          )    No. 4:04CR442-SNL
                                                    )
ZEYAD ABDELJABBAR,                                  )
                                                    )
                      Defendant.                    )


                                            ORDER

              IT IS HEREBY ORDERED that, at defendant’s request, his sentencing will be

RESET to August 11, 2005 at 11:00 a.m. in Courtroom 17 South before the undersigned.

       Dated this   15th   day of July, 2005.




                                                SENIOR UNITED STATES DISTRICT JUDGE
